Case 11-11531-LMI Doc54 Filed 06/20/11 Pagelof1

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SOUTHERN DISTRICT OF FLORIDA
www.fisb.uscourts.qov

Case Number 11> / (53) ~CALZ
Chapter 13

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In Ba: AY. a
InRe ANGELA (ooHee

Debtor(s) /

DECLARATION UNDER PENALTY OF PERJURY TO ACCOMPANY PETITIONS, SCHEDULES
AND STATEMENTS FILED ELECTRONICALLY

Note: This declaration must be filed with each electronically filed initial petition or amended petition and
must contain the imaged signature of the debtor. This declaration must also be filed with an initial
scheduie, SFA, Statement of Social Security Number, or Statement of Current Monthiy income (OBF 22) not
filed with the initial petition or any amended schedules, SFA, Statement of Social Security Number, and/or
Statement of Current Monthly Income (OBF 22) unless these documents contain an imaged signature of

the debtor(s).

Check all documents that apply to this declaration

[_ | Amended voluntary petition signed by me on

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_ .‘ Muntary petition signed bymeon__ spent
[ 4 ,.nedules signed by me on Sows oe (EVA Amended schedules signed by me on _ 6 /. 2p th fé
{ ] Amended Statement of Financial Affairs signed by me

| | tatement of Financial Affairs signed t,o... oa —
on

{ ] Statement of Social Security Number(s) { ] Amended Statement of Social Security Number(s)
signed by me on

signed by me on
% “tatement of Current Manthiy Income (OBF 22) [ ] Amended Statement of Current Monthly Income (OBF 22)
signed by me on

signed by me on

 

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Aw. .
I /\NCELA (yj WES. , the undersigned debtor(s) hereby declare under penalty of perjury as

follows:
| have reviewed and signed the original(s) of the document(s) identified above and the information

1.
contained in the Verified Document(s) is true and correct to the best of my knowledge and belief.

2. |understand that Verified Document(s) filed in electronic form shall be treated for all purposes (both civil
and criminal, including penalties for perjury) in the same manner as though signed or subscribed.

3. |understand that the Verified Document(s) will be filed by my attorney in electronic form in connection with
the above captioned case and that | have received and reviewed copies of the Verified Document(s) | have
signed.

4. [understand that my attorney is required by the court to retain the original signed Verified Document(s) for

five years from date of discharge, dismissal or the conclusion of any pending appeals in this case and
provide pee’ documents, to the court upon request at any time.

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Hy Hed f § bagsre é.
Signature “of Stor 4 7 d Signature of Joint Debtor (if applicable)
(If non individual, authorize jem representative)

 

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Print Name / / Print Name

/si Robert Sanchez __/ PA

Robert Sanchez, Esa a Phone: 305-687-8008
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LF-11 (rev. 06/02/08)
